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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb.uscourts.gov

In re:                                               Case No.: 20-17186-AJC
                                                     Chapter 13
         Joaquina Raposo
                  Debtor(s)         /

                        OBJECTION TO CLAIM ON SHORTENED NOTICE

              IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                                TO YOUR CLAIM

        This objection seeks either to disallow or reduce the amount or change the priority status
of the claim filed by you or on your behalf. Please read this objection carefully to identify which
claim is objected to and what disposition of your claim is recommended. Upon the filing of this
objection an expedited hearing on this objection will be scheduled on the date already scheduled
for the confirmation hearing in accordance with Local Rule 3007-1(B)(2).

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the [trustee][debtor]
objects to the following claim filed in this case:

Claim                                         Amount of
No.              Name of Claimant             Claim

7-2              Caliber Home Loans, Inc.     $80,576.49

Basis for Objection and Recommended Disposition

On or about 07/31/2020, Creditor filed a secured proof of claim in the amount of $80,576.49 and
an arrearage in the amount of $3,216.74 for the mortgage on 2820 NW 174th Street Miami
Gardens, FL 33056-4035 xxxxxx4866. Said creditor will be paid directly and outside the plan.
Debtor requests the claim be allowed as filed with no distribution from the Chapter 13 Trustee.

The undersigned acknowledges that this objection and the notice of hearing for this objection will
be served on the claimant and the debtor at least 14 days prior to the confirmation hearing date and
that a certificate of service conforming to Local Rule 2002-1(F) must be filed with the court when
the objection and notice of hearing are served.


DATED: August 6, 2020                                Respectfully Submitted:
                                                     Robert Sanchez, P.A.
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